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         COUNT I (RICO)

         619-646.   The Court dismissed Count I in its Order dated February 25, 2004.

Accordingly, the J&J Defendants do not respond to Paragraphs 619 through 646 of the AMCC.

To the extent a response is required, the J&J Defendants deny all allegations contained within

Count I of the AMCC that pertain to them.

         COUNT II (RICO)

         647.   Answering Paragraph 647 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 646 of the AMCC.

         648.   To the extent the allegations in Paragraph 648 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than the J&J Defendants,

the J&J Defendants are without knowledge or information sufficient to form a belief as to the

truth of those allegations and, therefore, deny those allegations. The J&J Defendants admit that

Plaintiffs purport to bring this action and to seek relief under Count II of the AMCC as alleged in

Paragraph 648, but the J&J Defendants deny that Plaintiffs are entitled to maintain this action as

alleged or to any relief against the J&J Defendants under Count II. The J&J Defendants deny the

remaining allegations in Paragraph 648 of the AMCC.

         649.   The allegations in Paragraph 649 of the AMCC state a legal conclusion to which

no answer is required. The J&J Defendants deny, however, that Plaintiffs have pled a proper

class.

         650.   To the extent the allegations in Paragraph 650 of the AMCC and subparts state

legal conclusions, the J&J Defendants aver that no answer is required. The J&J Defendants are

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 650 and subparts and, therefore, deny those allegations.



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       651-655. The J&J Defendants deny the allegations in Paragraphs 651 through 655 that

pertain to them. To the extent the allegations in Paragraphs 651 through 655 of the AMCC refer

to the knowledge, conduct or actions of persons, entities or defendants other than the J&J

Defendants, the J&J Defendants are without knowledge or information sufficient to form a belief

as to the truth of those allegations and, therefore, deny those allegations. The J&J Defendants

state that the unidentified “industry report” cited in Paragraph 655 of the AMCC is the best

evidence of its contents.

       656-678. To the extent the allegations in Paragraph 656 through 678 of the AMCC

include allegations against the J&J Defendants, they are denied. To the extent the allegations in

Paragraphs 656 through 678 of the AMCC refer to the knowledge, conduct or actions of persons,

entities or defendants other than the J&J Defendants, the J&J Defendants are without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, deny

those allegations.

       679.    The allegations in Paragraph 679 of the AMCC state legal conclusions to which

no response is required. To the extent a response is required, the J&J Defendants deny the

allegations in Paragraph 679 of the AMCC.

       COUNT III (DECLARATORY RELIEF)

       680.    Answering Paragraph 680 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 679 of the AMCC.

       681.    The J&J Defendants deny the allegations in Paragraph 681 of the AMCC that

pertain to them. The allegations in Paragraph 681 of the AMCC state legal conclusions to which

no response is required. To the extent a response is required, the J&J Defendants deny that

Plaintiffs have standing to bring this action, and denies that an actual case and controversy exists.



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To the extent the allegations in Paragraph 681 of the AMCC refer to the knowledge, conduct or

actions of persons, entities or defendants other than the J&J Defendants, the J&J Defendants are

without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, deny those allegations.

       682-683.    Answering the first sentence of Paragraph 682 of the AMCC, the J&J

Defendants refer to and incorporate their response to Paragraph 681 of the AMCC. To the extent

the allegations in Paragraphs 682 through 683 of the AMCC and refer to the knowledge, conduct

or actions of persons, entities or defendants other than the J&J Defendants, the J&J Defendants

are without knowledge or information sufficient to form a belief as to the truth of those

allegations and, therefore, deny those allegations. The J&J Defendants deny the remaining

allegations in Paragraphs 682 through 684 of the AMCC that pertain to them.

       COUNT IV (CONSUMER PROTECTION STATUTES)

       684.    Answering Paragraph 684 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 683 of the AMCC.

       685.    The J&J Defendants admit that Plaintiffs purport to bring this action and to seek

relief under Count IV of the AMCC as alleged in Paragraph 685, but the J&J Defendants deny

that Plaintiffs are entitled maintain this action as alleged or to any relief against the J&J

Defendants under Count IV.          The J&J Defendants deny the remaining allegations in

Paragraph 685 of the AMCC.

       686.    To the extent the allegations in Paragraph 686 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than the J&J Defendants,

the J&J Defendants are without knowledge or information sufficient to form a belief as to the

truth of those allegations and, therefore, deny those allegations. J&J, Janssen, McNeil-PPC and



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Ortho Biotech admit that their principal places of business are located in New Jersey. Centocor

admits that its principal places of business is located in Pennsylvania. The J&J Defendants admit

that certain states have enacted consumer protection laws, but the J&J Defendants deny that it

has violated such laws or that Plaintiffs or any putative class members are entitled to relief under

such laws. The J&J Defendants deny the remaining allegations in Paragraph 686 of the AMCC

and subparts that pertain to them.

       687-691. The J&J Defendants deny the allegations in Paragraphs 687 through 691 of the

AMCC and subparts that pertain to them. To the extent the allegations in Paragraphs 687

through 691 of the AMCC and subparts refer to the knowledge, conduct or actions of persons,

entities or defendants other than the J&J Defendants, the J&J Defendants are without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, deny

those allegations.

       COUNT V (CLAYTON ACT – TOGETHER RX)

       692.    Answering Paragraph 692 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 691 of the AMCC.

       693-694. The J&J Defendants deny the allegations in Paragraphs 693 through 694 of the

AMCC.

       695.    The allegations in Paragraph 695 of the AMCC state a legal conclusion to which

no answer is required. To the extent a response is required, the J&J Defendants deny the

allegations in Paragraph 695 of the AMCC.

       696-698. The J&J Defendants deny the allegations in Paragraphs 696 through 698 of the

AMCC.




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       COUNT VI (SHERMAN ACT)

       699.    Answering Paragraph 699 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 698 of the AMCC.

       700-703. The J&J Defendants deny the allegations in Paragraphs 700 through 703 of the

AMCC that pertain to them. To the extent the allegations in Paragraphs 700 through 703 of the

AMCC refer to the knowledge, conduct or actions of persons, entities or defendants other than

the J&J Defendants, the J&J Defendants are without knowledge or information sufficient to form

a belief as to the truth of those allegations and, therefore, deny those allegations.

       704.    The J&J Defendants deny the allegations in Paragraph 704 of the AMCC.

       COUNT VII (INDIRECT PURCHASER – TOGETHER RX)

       705.    Answering Paragraph 705 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 704 of the AMCC. The

J&J Defendants deny the remaining allegations in Paragraph 705 of the AMCC.

       706-708.        The J&J Defendants deny the allegations in Paragraphs 706 through 708

of the AMCC and subparts.

       COUNT VIII (RICO – TOGETHER RX)

       709.    Answering Paragraph 709 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 708 of the AMCC.

       710.    The J&J Defendants admit that Plaintiffs purport to bring this action and to seek

relief under Count VII of the AMCC as alleged in Paragraph 710, but the J&J Defendants deny

that Plaintiffs are entitled maintain this action as alleged or to any relief against the J&J

Defendants under Count VII.




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       711.    The allegations in Paragraph 711 state legal conclusions to which no response is

required. To the extent a response is required, the J&J Defendants deny the allegations in

Paragraph 711 of the AMCC.

       712-717. The J&J Defendants deny the allegations in Paragraphs 712 through 717 of the

AMCC that pertain to them, except that J&J admits that Johnson & Johnson Health Care

Systems Inc. is a participant in the Together Card Program.

       718-719. The J&J Defendants deny the allegations in Paragraphs 718 though 719 of the

AMCC and subparts that pertain to them. To the extent the allegations in Paragraphs 718

through 719 of the AMCC and subparts refer to the knowledge, conduct or actions of persons,

entities or defendants other than the J&J Defendants, the J&J Defendants are without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, deny

those allegations.

       720-725. The J&J Defendants deny the allegations in Paragraphs 720 through 725 of the

AMCC that pertain to them.

       COUNT IX (CIVIL CONSPIRACY – PBMs)

       726.    Answering Paragraph 726 of the AMCC, the J&J Defendants reallege and

incorporate their responses to the allegations in Paragraphs 1 through 725 of the AMCC.

       727.    The J&J Defendants admit that Plaintiff CMHV purports to bring this action as

alleged in Paragraph 727 of the AMCC, but the J&J Defendants deny that Plaintiff CMHV is

entitled to maintain this action in the manner alleged or that CMHV is a proper class

representative. The J&J Defendants are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 727 of the AMCC and, therefore,

deny those allegations.



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       728-731. The J&J Defendants deny the allegations in Paragraphs 728 through 731 of the

AMCC and subparts that pertain to them. To the extent the allegations in Paragraphs 728

through 731 of the AMCC and subparts refer to the knowledge, conduct or actions of persons,

entities or defendants other than the J&J Defendants, the J&J Defendants are without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, deny

those allegations.

       732-733. The J&J Defendants deny the allegations in Paragraphs 732 through 733 of the

AMCC that pertain to them.

       X.      CIVIL CONSPIRACY (TOGETHER RX)

       734.    Answering Paragraph 734 of the AMCC, the J&J Defendants reallege and

incorporates its responses to the allegations in Paragraphs 1 through 733 of the AMCC.

       735.    The J&J Defendants admit that Plaintiff CMHV purports to bring this action as

alleged in Paragraph 735 of the AMCC, but the J&J Defendants deny that Plaintiff CMHV is

entitled to maintain this action in the manner alleged or that CMHV is a proper class

representative. The J&J Defendants are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 735 of the AMCC and, therefore,

deny those allegations.

       736-741. The J&J Defendants deny the allegations in Paragraphs 736 through 741 of the

AMCC as they pertain to them.

  UNNUMBERED “WHEREFORE” PARAGRAPH AND REQUEST FOR JURY TRIAL

       The J&J Defendants deny Plaintiffs are entitled to a judgment or any other relief

requested in their Prayer for Relief and “WHEREFORE” paragraph following Paragraph 741 of

the AMCC.



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                                          DEFENSES

                                          First Defense

       Plaintiffs and the putative class fail to state a claim against the J&J Defendants upon

which relief may be granted.

                                         Second Defense

       Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the political

question and separation of powers doctrines.

                                         Third Defense

       Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the filed rate

doctrine.

                                         Fourth Defense

       Plaintiffs and the putative class have not suffered, and will not suffer, any injury to a

legally protected or cognizable interest by reason of the conduct of the J&J Defendants as

alleged in the AMCC.

                                          Fifth Defense

       To the extent Plaintiffs and/or any member of the putative class obtain recovery in any

other case predicated on the same factual allegations, that Plaintiff or purported class member is

barred from seeking recovery against the J&J Defendants based on the AMCC pursuant to the

doctrines of res judicata and collateral estoppel, and the prohibition on double recovery for the

same injury.

                                          Sixth Defense

       Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the First

Amendment to the United States Constitution and the analogous provisions of the Constitutions

of the States of California, Delaware, Florida, Illinois, Louisiana, Minnesota, New Jersey, New

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York, Pennsylvania, Texas, Washington and any other States whose laws are or become relevant

in the course of this multidistrict litigation.

                                           Seventh Defense

        Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the Noerr-

Pennington doctrine to the extent that such claims are premised, in whole or in part, on alleged

statements or conduct by the J&J Defendants in judicial, legislative or administrative

proceedings of any kind or at any level of government.

                                            Eighth Defense

        Plaintiffs and the putative class’ claims are barred, in whole or in part, to the extent that

Plaintiffs and the putative class members have released, settled, entered into an accord and

satisfaction or otherwise compromised their claims.

                                             Ninth Defense

        Any and all actions taken by the J&J Defendants with respect to any of the matters

alleged in the AMCC were taken in good faith and in accordance with established industry

practice.

                                             Tenth Defense

        Plaintiffs and the putative class’ state law claims are preempted, in whole or in part, by

federal law, including without limitation the Federal Employment Retirement Income and

Security Act of 1974, the Federal Medicare Act, and the Federal Medicaid Act, including all

amendments to the same and all regulations promulgated thereunder.

                                           Eleventh Defense

        Plaintiffs’ and the putative class’ claims are preempted by the dormant Commerce Clause

of the United States Constitution.




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                                          Twelfth Defense

        Plaintiffs’ and the putative class’ claims against the J&J Defendants are barred because

the J&J Defendants have complied with all applicable regulations of the federal and state

governments.

                                         Thirteenth Defense

        Plaintiffs’ and the putative class’ claims against the J&J Defendants are barred, in whole

or in part, by the applicable statutes of limitations and repose, and by the doctrines of laches,

estoppel, and waiver.

                                        Fourteenth Defense

        Plaintiffs’ and the putative class’ claims are barred, in whole or in part, because they

violate the J&J Defendants’ rights under the Due Process and Ex Post Facto clauses of the

United States Constitution, as well as all applicable state constitutions, insofar as Plaintiffs and

the putative class members seek to impose liability retroactively for conduct that was not

actionable at the time it occurred.

                                          Fifteenth Defense

        The J&J Defendants’ statements or actions were not the proximate cause or cause in fact

of any injury to or alleged loss by Plaintiffs or the putative class.

                                         Sixteenth Defense

        Plaintiffs and the putative class fail to state with particularity facts to support the fraud

allegations, and fail to plead with particularity the fraudulent concealment and multi-source

medicine allegations against the J&J Defendants contained in the AMCC.

                                        Seventeenth Defense

        Plaintiffs and the putative class fail to allege with particularity their civil conspiracy

claims against the J&J Defendants as required by Fed. R. Civ. P. 9(b).

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                                        Eighteenth Defense

       Plaintiffs’ and the putative class’ claims against the J&J Defendants are barred, in whole

or in part, because the J&J Defendants did not make any false statements to Plaintiffs or to any

members of the putative class members.           As to any statement asserted against the J&J

Defendants that Plaintiffs and the putative class allege to be false or misleading, the J&J

Defendants had no reasonable grounds to believe, and did not believe at the time such a

statement was made, that the statement was false or misleading.

                                        Nineteenth Defense

       Plaintiffs’ and the putative class’ claims against the J&J Defendants are barred because

the J&J Defendants did not directly or indirectly conspire with any other entity or engage in any

other conduct in violation of state or federal law.

                                        Twentieth Defense

       Plaintiffs’ and the putative class’ RICO claims against the J&J Defendants are barred, in

whole or in part, due to Plaintiffs’ failure to properly allege a RICO enterprise as required by 18

U.S.C. § 1962(c).

                                      Twenty-First Defense

       Plaintiffs’ and the putative class’ RICO claims against the J&J Defendants are barred, in

whole or in part, due to their failure to plead facts showing that the J&J Defendants and the

PBMs are ongoing organizations whose members function as a continuing unit and share

common purposes as required by United States v. Turkette, 452 U.S. 576, 583 (1981).

                                     Twenty-Second Defense

       Plaintiffs’ and the putative class’ RICO claims against the J&J Defendants are barred, in

whole or in part, due to their failure to allege that the J&J Defendants conducted the affairs of the

alleged enterprises as required by 18 U.S.C. § 1962(c).

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                                     Twenty-Third Defense

       Plaintiffs and the putative class lack standing to bring their RICO claims against the J&J

Defendants because they cannot show the J&J Defendants directly caused their alleged injuries

as required by 18 U.S.C. § 1964(c) and Holmes v. Securities Investor Prot. Corp., 503 U.S. 258,

265-66, 268 (1992).

                                     Twenty-Fourth Defense

       Plaintiffs’ and the putative class’ civil conspiracy claims against the J&J Defendants are

barred, in whole or in part, by their failure to allege a concerted action as required by Aetna Cas.

Sur. Co. v. P&B Autobody, 43 F.3d 1546, 1564 (1st Cir. 1994) and Grant v. John Hancock Mut.

Life Ins. Co., 183 F. Supp. 2d 344, 359 (D. Mass. 2002), and/or by their failure to allege a

coercive conspiracy as required by Fleming v. Dance, 22 N.E.2d 609, 611 (Mass. 1939).

                                      Twenty-Fifth Defense

       Plaintiffs’ and the putative class’ civil conspiracy claims against the J&J Defendants are

barred, in whole or in part, because they are duplicative and improper under Massachusetts law.

See Grant, 183 F. Supp. 2d at 364.

                                      Twenty-Sixth Defense

       The J&J Defendants deny that Plaintiffs and the putative class have valid consumer

protection claims against the J&J Defendants under California, Delaware, Florida, Illinois,

Louisiana, Minnesota, New Jersey, New York, Pennsylvania, Texas, Washington or any other

State whose law is or becomes relevant in the course of this multidistrict litigation. However, if

such claims are found to exist, the J&J Defendants pleads all available defenses under the Acts.

                                     Twenty-Seventh Defense

       Any allegedly fraudulent statements or conduct of the J&J Defendants did not directly or

proximately cause the alleged injuries of Plaintiffs and/or any members of the putative class as

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required under state consumer protection laws, including without limitation those of Florida,

Illinois, Louisiana, New Jersey, New York, Pennsylvania, Texas and Washington.

                                    Twenty-Eighth Defense

       The J&J Defendants’ conduct was neither “deceptive,” “misleading,” “unlawful” nor

“illegal” as required under certain state consumer protection laws, including without limitation

those of Delaware, Florida, Illinois, Louisiana, Minnesota, New Jersey, New York, Texas and/or

Washington.

                                    Twenty-Ninth Defense

       To the extent that Plaintiffs and the putative class members attempt to seek equitable

relief against the J&J Defendants, they are not entitled to such relief because they have an

adequate remedy at law.

                                       Thirtieth Defense

       Plaintiffs and the putative class lack standing to bring their asserted consumer protection

claims against the J&J Defendants under certain state consumer protection laws, including

without limitation those of Delaware, Florida, Louisiana, New Jersey, Pennsylvania and

Washington.

                                     Thirty-First Defense

       Plaintiffs and the putative class did not rely on the allegedly fraudulent statements or

conduct of the J&J Defendants as required under certain state consumer protection laws,

including without limitation those of New York and Pennsylvania.

                                    Thirty-Second Defense

       Any allegedly fraudulent statement or conduct of the J&J Defendants was not consumer-

oriented as required under certain consumer protection law, including without limitation that of

New York.

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                                      Thirty-Third Defense

        Plaintiffs’ and the putative class’ claims against the J&J Defendants for injunctive relief

were mooted by the passage of the 2003 Medicare reform legislation.

                                     Thirty-Fourth Defense

        Plaintiffs’ and the putative class’ claims for injunctive relief against the J&J Defendants

are barred by the doctrines of in pari delicto and/or unclean hands.

                                       Thirty-Fifth Defense

        This action cannot be maintained as a class action because (1) the certification and

maintenance of this action as a class would violate the separation of powers provisions of the

United States Constitution and would be an unconstitutional usurpation of authority reserved to

the legislative branch; (2) the claims of Plaintiffs and the putative class cannot be properly joined

with one another because they did not arise out of the same transaction, occurrence, or series of

transactions or occurrences; (3) the named Plaintiffs and the putative class cannot satisfy the

procedural requirements of Fed. R. Civ. P. 23; (4) the questions of fact at issue are not common

to the alleged class, but rather, are highly specific and will vary dramatically from person to

person and entity to entity; and/or (5) class certification would violate the J&J Defendants’ rights

provided by the Fifth, Seventh and Fourteenth Amendments to the United States Constitution as

well as by the Constitutions of the States of California, Delaware, Florida, Illinois, Louisiana,

Minnesota, New Jersey, New York, Pennsylvania, Texas, Washington and any other States

whose laws are or become relevant in the course of this multidistrict litigation, including but not

limited to the J&J Defendants’ right to procedural and substantive safeguards, which include

traditional defenses to liability.




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                                       Thirty-Sixth Defense

       Plaintiffs’ and the putative class’ antitrust claims against the J&J Defendants (1) are

barred because they have not suffered any antitrust injury; (2) are barred in whole or in part for

lack of standing; and/or (3) should be dismissed because the alleged conspiracy does not make

economic sense and is economically implausible.

                                      Thirty-Seventh Defense

       Any alleged restraints complained of in the AMCC are ancillary to legitimate,

procompetitive activity.

                                      Thirty-Eighth Defense

       The J&J Defendants’ conduct was not intended to have, did not have and was not likely

to have had any adverse effects on competition in any relevant market.

                                       Thirty-Ninth Defense

       Plaintiffs’ and the putative class’ claims against the J&J Defendants under Section 1 of

the Sherman Act, 15 U.S.C. § 1, are barred to the extent recovery is based on indirect purchases

of medicines.

                                          Fortieth Defense

       Plaintiffs’ and the putative class’ antitrust claims against the J&J Defendants under the

various state antitrust statutes are barred in whole or in part to the extent those statutes (1) do not

allow (or did not allow at the time the conduct was alleged herein) recovery of damages by

indirect purchasers; and (2) do not govern conduct that is predominantly interstate in nature.

                                        Forty-First Defense

       Plaintiffs’ and the putative class’ antitrust claims against the J&J Defendants under the

various state unfair trade and competition statutes are barred in whole or in part to the extent

those statutes (1) do not allow (or did not allow at the time the conduct was alleged herein)

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recovery of damages by indirect purchasers; and (2) do not govern conduct that is predominantly

intrastate in nature.

                                      Forty-Second Defense

        Plaintiffs’ and the putative class’ antitrust claims against the J&J Defendants under the

various state consumer protection and consumer fraud statutes are barred in whole or in part to

the extent those statutes (1) do not allow (or did not allow at the time the conduct was alleged

herein) recovery of damages by indirect purchasers; and (2) do not govern conduct that is

predominantly intrastate in nature.

                                      Forty-Third Defense

        Plaintiffs’ and the putative class’ antitrust claims against the J&J Defendants under the

various state unfair trade, unfair competition, consumer protection and consumer fraud statutes

are barred to the extent (1) those claims represent an impermissible circumvention of the states’

antitrust statutes; and (2) those statutes apply only to deceptive or misleading conduct and/or

govern only consumer transactions.

                                      Forty-Fourth Defense

        Third party payor plaintiffs’ and third party payor putative class members’ claims against

the J&J Defendants are barred, in whole or part, with respect to any alleged overcharge or

supracompetitive price on the ground that third party payors passed on any effect of the alleged

supracompetitive prices to their customers or employees in the form of higher premiums, co-pays

or other charges.

                                       Forty-Fifth Defense

        Plaintiffs’ and the putative class’ claims against the J&J Defendants are barred, in whole

or in part, with respect to any alleged overcharge or supracompetitive price because such

supracompetitive price, if any, was absorbed, in whole or part, by a person and/or entity which

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purchased the medicine directly, and/or by an intermediate indirect purchaser, and was not

passed through to the Plaintiffs and putative class members.

                                         Forty-Sixth Defense

        Plaintiffs’ and the putative class’ claims against the J&J Defendants are barred, in whole

or in part, due to their failure to join indispensable parties.

                                       Forty-Seventh Defense

        Plaintiffs’ and the putative class’ claims against the J&J Defendants are barred, in whole

or in part, because they have suffered no damages as a result of the matters alleged in the

AMCC.

                                        Forty-Eighth Defense

        Plaintiffs’ and the putative class’ claims are barred, in whole or in part, because any

injuries sustained by Plaintiffs or the putative class were the result of intervening or superceding

conduct of third parties.

                                        Forty-Ninth Defense

        Plaintiffs’ and the putative class’ claims against the J&J Defendants for damages are

barred, in whole or in part, (1) because they failed to mitigate their damages, and their failure to

mitigate damages should proportionately reduce the recovery of such persons and the allocation

of any fault, if any exists, attributable to the J&J Defendants; (2) because they would be unjustly

enriched if allowed to recover any portion of the damages alleged in the AMCC; (3) by the

doctrine of consent and/or ratification to the extent that plaintiffs and/or putative class members

have received and paid for medicines manufactured, marketed and sold by the J&J Defendants

after the filing of Plaintiffs’ original Complaint; and (4) because they are speculative and remote

and because of the impossibility of ascertaining and allocating those alleged damages.



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                                          Fiftieth Defense

       The J&J Defendants are entitled to a set-off, should any damages be awarded against it,

for the entire amount of all damages or settlement amounts recovered by Plaintiffs and/or the

putative class, with respect to the same alleged injuries.

                                        Fifty-First Defense

       Any damages recovered by the Plaintiffs and the putative class from the J&J Defendants

must be limited by the applicable statutory ceilings on recoverable damages.

                                       Fifty-Second Defense

       Plaintiffs and the putative class fail to allege facts or a cause of action against the J&J

Defendants sufficient to support a claim for attorneys’ fees, treble damages and/or legal fees.

                                       Fifty-Third Defense

       To the extent punitive damages are sought, Plaintiffs’ and the putative class’ punitive

damages claims against the J&J Defendants: (1) have no basis in law or fact; (2) are not

recoverable because the allegations of the AMCC are legally insufficient to support a claim for

punitive damages against the J&J Defendants; (3) cannot be sustained because laws regarding

the standards for determining liability for and the amount of punitive damages fail to give the

J&J Defendants prior notice of the conduct for which punitive damages may be imposed, and the

severity of the penalty that may be imposed, and are void for vagueness in violation of the J&J

Defendants’ due process rights guaranteed by the Fifth and Fourteenth Amendments to the

United States Constitutions and the constitutions of any applicable states’ laws; (4) cannot be

sustained because any award of punitive damages exceeding the limits authorized by the laws or

other comparable laws would violate the J&J Defendants’ due process and equal protection

rights guaranteed by the Fifth and Fourteenth Amendments to the United States Constitution and

would be improper under the constitutions, common law and applicable states’ laws; (5) cannot

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be sustained because an award of punitive damages in this case, combined with any prior,

contemporaneous, or subsequent judgments against the J&J Defendants for punitive damages

arising from the design, development, manufacture, fabrication, distribution, supply, marketing,

sale, or use of the J&J Defendants’ medicines would constitute impermissible multiple

punishments for the same wrong, in violation of the J&J Defendants’ due process and equal

protection rights guaranteed by the Fifth and Fourteenth Amendments to the United States

Constitution and would constitute double jeopardy in violation of the constitutions, common law

and statutory law of any applicable states’ laws; (6) cannot be sustained because any award of

punitive damages without the apportionment of the award separately and severally between or

among the alleged joint tortfeasors, as determined by the alleged percentage of the wrong

committed by each alleged tortfeasor, would violate the J&J Defendants’ due process and equal

protection rights guaranteed by the Fifth and Fourteenth Amendments to the United States

Constitution and would be improper under the constitutions, common law and public policies of

any applicable states’ law; and (7) cannot be sustained because any award of punitive damages,

which are penal in nature, without according the J&J Defendants the same protections that are

accorded to all criminal defendants, including the protection against unreasonable searches and

seizures, the privilege against self-incrimination, and the rights to confront adverse witnesses, a

speedy trial, and the effective assistance of counsel, would violate the J&J Defendants’ rights

guaranteed by the Fourth, Fifth, and Sixth Amendment as incorporated into the Fourteenth

Amendment to the United States Constitution and would be improper under the constitutions,

common law and public policies of any applicable states’ laws.

                                      Fifty-Fourth Defense

       To the extent punitive damages are sought, Plaintiffs’ and the putative class’ claim for

punitive damages against the J&J Defendants cannot be sustained because an award of punitive

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damages by a jury that: (1) is not provided constitutionally adequate standards of sufficient

clarity for determining the appropriate imposition of, and the appropriate size of, a punitive

damages award, (2) is not adequately instructed on the limits of punitive damages imposed by

the applicable principles of deterrence and punishment, (3) is not expressly prohibited from

awarding punitive damages, or determining the amount of an award of punitive damages, in

whole or in part on the basis of invidiously discriminatory characteristics, including without

limitation the residence, wealth, and corporate status of the J&J Defendants, (4) is permitted to

award punitive damages under a standard for determining liability for punitive damages that is

vague and arbitrary and does not define with sufficient clarity the conduct or mental state that

makes punitive damages permissible, (5) is not properly instructed regarding Plaintiff’s and the

putative class’ burden of proof with respect to each and every element of a claim for punitive

damages, and (6) is not subject to trial court and appellate judicial review for reasonableness and

furtherance of legitimate purposes on the basis of constitutionally adequate and objective

standards, would violate the J&J Defendants’ Due Process and Equal Protection rights

guaranteed by the Fifth and Fourteenth Amendments to the United States Constitution, and

would be improper under the constitutions, common law and public policies of any applicable

states’ laws.

                                       Fifty-Fifth Defense

       To the extent punitive damages are sought, Plaintiff’s and the putative class’ claim for

punitive damages against the J&J Defendants cannot be sustained because an award of punitive

damages that is subject to no predetermined limit, such as maximum multiple of compensatory

damages or a maximum amount of punitive damages that may be imposed, would: (1) violate

the J&J Defendants’ due process rights guaranteed by the Fifth and Fourteenth Amendments to

the United States Constitution; (2) violate the J&J Defendants’ right not to be subjected to an

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excessive award; and (3) be improper under the constitutions, common law and public policies of

any applicable states’ laws.

                                        Fifty-Sixth Defense

       The J&J Defendants adopt by reference any additional applicable defense pled by any

other defendant not otherwise pled herein.

                                      Fifty-Seventh Defense

       The J&J Defendants hereby give notice that they intend to rely upon any other and

additional defense that is now or may become available or appear during, or as a result of the

discovery proceedings in this action and hereby reserve its right to amend its answer to assert

such defense. The J&J Defendants also reserve the right to assert such other and related defenses

as may become available in the event of a determination that the action, or some part thereof, is

governed by the substantive law of a state other than California, Delaware, Florida, Illinois,

Louisiana, Minnesota, New Jersey, New York, Pennsylvania, Texas, Washington and/or any

other State whose law is or becomes relevant in the course of this multidistrict litigation.




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       WHEREFORE, the J&J Defendants demand that:                  (1) The Amended Master

Consolidated Complaint be in all respects dismissed as to them; (2) That they be awarded their

costs of defending this action, including their reasonable attorneys’ fees; and (3) That they be

awarded such other and further relief as the Court may deem just and proper.


Dated: New York, New York
       April 9, 2004
                                                 Respectfully Submitted,

                                                 /s/ Andrew D. Schau
                                                 _______________________________
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                                                    PPC, Inc., and Ortho Biotech Products, L.P.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of April, 2004, a true and correct copy of the
foregoing document was served upon all counsel of record by electronic service pursuant to
CMO No. 2, by causing a copy to be sent to Verilaw Technologies for posting and notification.


                                         /s/ Andrew D. Schau
                                         ____________________________________
                                                    Andrew D. Schau




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